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        ~AO 245B (CASD) {Rev. 4114)   Judgment in a Criminal Case
                   Sheet I
                                                                                                                                        Ell Fe
                                                UNITED STATES DISTRICT COURT                                                    -AUG -5 AM 8:58
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                          iM~ US Ols TlIICT "'.'O.U/fJ
                                                                                                                                ..     .11 JiiTRIIH IF ~.AtIH1f1l!t.
                        UNITED STATES OF AMERICA                                      AMENDED JUDGMENT IN A CRIMINAL CASE
                                          v.                                          (For Offenses Committed On or Al@rNm1emher 1, i987t.(} _""                           .
                                                                                                                                                            ~=q~t~~.'!Il~Jr '(

                         RANDY ALTON GRAVES (I)                                       Case Number: 14CR1288-DMS

                                                                                      Jeremy Warren CJA
                                                                                      Defendant's Attorney
        REGISTRATION NO. 04200112
        181 Modification of Fine Order
        THE DEFENDANT:
        D   pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        181 was found guilty on count(s) 4,5 and 10 of the 5th Superseding Indictment
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                  Count
        Title & Section                        Nature of Offense                                                                                Numberfs)
21 USC 846, 841(a)(I) and               CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                4
 841 (b)(1 )(A)(viii)
21 USC 846, 841(a)(1) and               CONSPIRACY TO DISTRIBUTE MARIJUANA                                                                      5
 841(b)(1 )(A)(vii)
21 USC 841(a)(I) and                    POSSESSION WITH INTENT TO DISTRIBUTE METHAMPHETAMINE                                                    10
 841(b)(1 )(A)(viii)




        The defendant is sentenced as provided in pages 2 through _ _",3_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
        Connt(s)       . .                                    ------------------------
 15(1
 ~                 remammg                                          is                    D
                                                                       arel8l dismissed on the motion of the United States.
 181 Assessment: $300.00 ($100.00 as to each of Counts 4, 5 and 10 of the 5th Superseding Indictment.

  D Fine waived                                      181 Forfeiture pursuant to order filed _ _",J:.:u::;,IY,--,,7':.:2:.:0:.:1.:.6_ _ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                 Jul 26,2016
                                                                                Date ofImposition of Sentence



                                                                                HON.DANA             . ABRAW
                                                                                UNITED STATES DISTRICT JUDGE



                                                                                                                                                    14CR1288-DMS
•
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                                                                         3
    AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
               Sheet 2 - Imprisonment

                                                                                                    Judgment - Page   2    of      3
     DEFENDANT: RANDY ALTON GRAVES (I)
     CASE NUMBER: 14CR1288-DMS
                                                               IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
              LIFE as to each of Counts 4,5 and 10 of the 5th Superseding Indictment, to run concurrently.




          o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
          o   The court makes the following recommendations to the Bureau of Prisons:




          o   The defendant is remanded to the custody of the United States Marshal.

          o   The defendant shall surrender to the United States Marshal for this district:

                Oat                                   Oa.m.      Op.m.       on
                    as notified by the United States Marshal.

          o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               o   before
                            -------------------------------------------------
               o   as notified by the United States Marshal.
               D as notified by the Probation or Pretrial Services Office.

                                                                    RETURN

    I have executed this judgment as follows:

              Defendant delivered on                                                   to

     at                                                  with a certified copy ofthis judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                          14CR1288-DMS
•
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                                                                    3



A0245S      Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                Judgment - Page _...;3_ _ of     3

    DEFENDANT: RANDY ALTON GRAVES (1)
    CASE NUMBER: 14CR1288-DMS

                                                                  FINE

        The defendant shall pay a fme in the amount of _ _ _$_1_5-,-,0_0_0_.0_0_ _ _unto the United States of America.




         This sum shall be paid __ immediately.
                                 " as follows:

         The fine shall be paid unto the United States, through the Clerk, U.S. District Court. Payment of$7,500.00 shall
         be forthwith, with funds from defendant's Inmate Trust Account. During any period of incarceration the
         defendant shall pay the remaining balance of the fine through the Inmate Financial Responsibility Program at the
         rate of 50% of the defendant's income, or $50.00 per quarter, whichever is greater.




         The Court has determined that the defendant _____ have the ability to pay interest. It is ordered that:

     __ The interest requirement is waived.


          The interest is modified as follows:




                                                                                               14CR1288-DMS
